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4                            UNITED STATES DISTRICT COURT

5                           EASTERN DISTRICT OF CALIFORNIA

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7     UNITED STATES OF AMERICA,                  No.   2:15-cr-00125-GEB
8                       Plaintiff,
                                                 ORDER FINDING DEFENDANT LACKS
9            v.                                  AUTHORITY TO APPEAL AND TO MAKE
                                                 ARGUMENTS, AND DISREGARDING
10    BENJAMIN MACIAS,                           DEFENDANT’S APPELLATE FILING
11                      Defendant.
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14           The Clerk of the Court (“Clerk”) provided chambers with a

15   preprinted form “Routing Slip” titled “Requesting Chambers Review,”

16   to    which   is    attached    Defendant    Benjamin   Macias’s   “Notice   of

17   Interlocutory Appeal” (“Notice”) stamped “FILED” on September 27,

18   2018.     Mr. Macias asserts in the filing that he is proceeding pro

19   se.    The Clerk sends chambers the referenced Routing Slip when the

20   Clerk is uncertain about how chambers elects to handle certain

21   documents.     The Clerk asks chambers in the Routing Slip: “Please

22   return [the Routing Slip and whatever document is attached thereto]

23   to Operations with instructions;” and the following options are

24   provided on the Routing Slip: “Please add to docket,” “Please

25   Return to Sender,” and/or “Other.”            Notwithstanding that the Clerk

26   stamped the Notice “FILED” when the Clerk received it, the judge

27   determines whether the Notice is filed on the court’s filing

28   system.
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1          Mr. Macias’s position that he can proceed pro se with the

2    Notice stems from the judge mistaken response to Mr. Macias during

3    an in camera proceeding in response to Mr. Macias’s stubborn

4    refusal to discontinue talking about certain defenses he wanted

5    preserved for appeal. Specifically, the judge eventually responded

6    to Mr. Macias by telling him his oral motions are part of the

7    record, the motions are denied, and Mr. Macias could appeal that

8    adverse ruling. Cf. United States v. Seugasala, 670 F. App’x 641,

9    641 (9th Cir. 2016) (“District courts have inherent discretionary

10   power” to determine whether what was previously secret should be

11   disclosed on the public record.).           Mr. Macias also referenced the

12   motions during a public hearing.            It was evident that Mr. Macias

13   was unsuccessful in persuading his appointed lawyer to file the

14   referenced motions. See generally Jones v. Barnes, 463 U.S. 745,

15   751   (1983)    (“[An]     indigent     defendant    [does     not        have]   a

16   constitutional     right    to   compel      appointed    counsel     to     press

17   nonfrivolous points requested by the client, if counsel, as a

18   matter of professional judgment, decides not to present those

19   points.”).        The     subject     judicial    mistake      authorized         an

20   inappropriate     hybrid     representation      during      the     in     camera
21   proceeding.

22         “A district judge may allow ‘hybrid representation,’ in which

23   the accused assumes some of the lawyer’s functions, under certain

24   circumstances.       If    the   defendant    assumes    any   of    the     ‘core

25   functions’ of the lawyer, however, the hybrid scheme is acceptable

26   only if the defendant has voluntarily waived counsel.               Here, there
27   was no waiver . . . [Yet Mr. Macias] formulated and presented . .

28   . [certain] defense[s] himself.”            United States v. Turnbull, 888
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1    F.2d 636, 638 (9th Cir. 1989) (citations omitted).                        Since the

2    Notice contains core functions of a lawyer, and Mr. Macias has not

3    been authorized to represent himself concerning those functions,

4    he is not authorized to file the Notice.

5          To proceed pro se, Mr. Macias must knowingly and intelligently

6    waive his Sixth Amendment right to counsel, which includes Mr.

7    Macias convincing the judge that he sufficiently understands the

8    risks of self-representation, and nevertheless elects to proceed

9    pro se.    United States v. Kimmel, 672 F.2d 720, 722 (9th Cir. 1982)

10   (stating    the    record    must   show       that    defendant     knowingly      and

11   intelligently       waived   his    Sixth      Amendment      to    counsel   before

12   defendant could be allowed to proceed pro se); see also Turnbull,

13   888 F.2d at 638 (“Our recognition of the powerful advantage of

14   competent    counsel    mandates     extreme          care   in    allowing   pro   se

15   representation.       A waiver of the right to counsel must be knowing

16   and voluntary.”).       Mr. Macias has not waived his Sixth Amendment

17   right to counsel.

18         Mr. Macias’s Notice of Interlocutory Appeal shall be filed on

19   the public docket since the judge erroneously told Mr. Macias that

20   the issues can be appealed.          However, this filing is disregarded
21   because Mr. Macias has not been authorized to represent himself.

22         Dated:      October 4, 2018

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